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10                              IN THE UNITED STATES DISTRICT COURT
11                        FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   ROGER McINTOSH,                                      CASE NO. CV F 07-1080 LJO GSA
14                            Plaintiff,                  ORDER TO DENY RECONSIDERATION OF
                                                          REPLY PAPERS PRHOHIBITION
15          vs.                                           (Doc. 176.)
16   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
17   INC., et al,
18                            Defendants.
                                               /
19
20   AND RELATED CROSS-ACTION.
21   ___________________________________/
22
23          This Court DENIES defendants Northern California Universal Enterprises Company and Lotus
24   Developments, L.P.’s request to reconsider prohibition of defense summary judgment reply papers for
25   the following reasons:
26          1.     Defendants have burdened this Court with unimpressive summary judgment papers to
27                 render reply papers a further burden to this Court;
28          2.     The issues have been adequately presented;

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 1         3.      Defense reply papers would serve to delay disposition of the summary judgment motions;
 2         4.      This Court thoroughly reviews, considers and applies the evidence it deems admissible,
 3                 material and appropriate for summary judgment/adjudication and thus does not rule on
 4                 objections in a summary judgment context; and
 5         5.      Disobedience of this Court’s order is not a “transgression” and warrants prohibition of
 6                 defense reply papers.
 7         Again, this Court ADMONISHES defendants that it will strike defense reply papers of any kind.
 8         IT IS SO ORDERED.
 9   Dated:     October 22, 2009                    /s/ Lawrence J. O'Neill
     66h44d                                     UNITED STATES DISTRICT JUDGE
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